Case 2:21-cv-08533-MCS-SP Document 279 Filed 02/12/24 Page 1 of 2 Page ID #:7086



 1
 2
 3
 4                                                           JS-6
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10    MG PREMIUM LTD, a limited               Case No. 2:21-cv-08533-MCS-SP
11    liability company organized under the
      laws of the Republic of Cyprus,         JUDGMENT
12
13                      Plaintiff,
14
                  v.
15
      JOHN DOES 4–20, d/b/a
16
      GOODPORN.TO; AMRIT KUMAR,
17    an individual; LIZETTE LUNDBERG,
      an individual; and EMILIE BRUNN,
18
      an individual,
19
                        Defendants.
20
21
22
23
24
25
26
27
28
                                              1
Case 2:21-cv-08533-MCS-SP Document 279 Filed 02/12/24 Page 2 of 2 Page ID #:7087



 1          Pursuant to the Court’s orders, it is ordered, adjudged, and decreed:
 2          1.     Judgment is entered in favor of MG Premium Ltd. and against Amrit
 3   Kumar, Lizette Lundberg, and Emilie Brunn on MG Premium’s claims. Judgment is
 4   entered in favor of MG Premium Ltd. and against Lizette Lundberg and Amrit Kumar
 5   on Lundberg and Kumar’s counterclaims.
 6          2.     MG Premium Ltd. shall recover from Amrit Kumar statutory damages in
 7   the sum of $2,157,000.
 8          3.     Plaintiff MG Premium Ltd. is the owner of all the works identified in
 9   Exhibit A to the First Amended Complaint.
10          4.     Amrit Kumar, Lizette Lundberg, and Emilie Brunn have no rights by virtue
11   of the “Bilateral Agreement” Kumar first identified in his Motion to Dismiss the
12   Complaint and again identified in his Answer to the First Amended Complaint.
13          5.     Amrit Kumar, Lizette Lundberg, and Emilie Brunn shall pay to MG
14   Premium Ltd. attorney’s fees in the sum of $46,740. As prevailing party, MG Premium
15   is entitled to recover its costs of suit.
16          6.     MG Premium Ltd. is entitled to recover postjudgment interest at the rate
17   prescribed by 28 U.S.C. § 1961(a).
18
19   IT IS SO ORDERED.
20
21    Dated: February 9, 2024
22                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28
                                                 2
